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 August 3, 2023

 Via E-mail (Chambers_of_Judge_Joel_H_Slomsky@paed.uscourts.gov)

 Honorable Joel H. Slomsky, U.S.D.J.
 U.S. District Court of New Jersey
 Mitchell H. Cohen Building & U.S. Courthouse
 4th & Cooper Streets, Room 1050
 Camden, NJ 08101

          Re:        Shannon Phillips v. Starbucks Corporation
                     Civil Action No.: 1:19-cv-19432-JHS-AMD

 Dear Judge Slomsky:

 As you are aware, our office represents Defendant Starbucks Corporation in the above-referenced
 matter. We write to request leave to file a short response to Plaintiff’s Motion for Economic Loss
 Damages (Dkt No. 175). Upon reviewing Plaintiff’s submission, it is clear that Plaintiff modeled
 her brief as a Response in Opposition to Defendant’s brief, rather than an affirmative submission
 in favor of her damages. As such, Defendant respectfully requests the ability to respond to
 Plaintiff’s brief. Defendant also requests oral argument on the issue of economic loss and the
 matters raised in the briefing.

 Thank you for your attention to this matter.

 Respectfully submitted,

 /s/Richard Harris

 Richard Harris
 cc: All Counsel of Record via Email




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